536 F.2d 1385
    93 L.R.R.M. (BNA) 2110
    N. L. R. B.v.Florida Steel Corp.*#
    No. 76-1743
    United States Court of Appeals, Fifth Circuit
    8/6/76
    
      1
      N.L.R.B.Fla.
    
    ENFORCED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    